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                            IN THE UNITED STATES DISTRICT COURT
                                     DISTRICT OF KANSAS

  DAVID BEATY and                                    )
  DB SPORTS, LLC,                                    )
                                                     )
                       Plaintiffs,                   )
                                                     )
  v.                                                 )          Case No. 2:19-CV-02137
                                                     )
  KANSAS ATHLETICS, INC.,                            )
                                                     )
                       Defendant.                    )


                                        MOTION TO DISMISS

                Defendant Kansas Athletics, Inc., (“Kansas Athletics”) moves to dismiss this

diversity case for lack of subject matter jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1)

and for failure to state a claim upon which relief can be granted pursuant to Fed. R. Civ.

P. 12(b)(6). A supporting memorandum, Index of Exhibits, and Exhibits A-R are filed

contemporaneously.

                                                         Respectfully submitted,


                                                         /s/ Eric J. Aufdengarten
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                                                         Inc.

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                                     CERTIFICATE OF SERVICE

                The undersigned counsel certifies that a true and correct copy of this document was

filed through the Court’s CM/ECF filing system on the 17th day of May, 2019 which

generated a Notice of Electronic Filing to the following counsel:

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{L0069353.1 }                                         2
